                                                THE HONORABLE MARY JO HESTON
 1                                              CHAPTER 13
                                                HEARING DATE: March 24, 2020
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                                                HEARING TIME: 1:00 P.M.
 3                                              LOCATION: Tacoma, Washington
                                                RESPONSE DATE: March 17, 2020
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10                IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                    WESTERN DISTRICT OF WASHINGTON AT TACOMA
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12     In re:                                   Case No.: 16-43264-MJH
13     TRUMAN WESLEY SANTIAGO JR                NOTICE OF AND MOTION FOR DISMISSAL
       and                                      PURSUANT TO 11 U.S.C. § 1307(c)
14
       JAMIE LEE SANTIAGO,
15
                                     Debtors.
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                                                NOTICE
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            YOU ARE HEREBY NOTIFIED that a hearing on Trustee’s Motion to Dismiss will
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     be heard before the Honorable Mary Jo Heston at 1:00 P.M. on March 24, 2020, at the U.S.

20   Bankruptcy Courthouse, 1717 Pacific Avenue, Courtroom H, Tacoma, WA 98402.

21          IF YOU OPPOSE this motion, you must file your written response with the Court

22   Clerk and deliver copies on the undersigned and all interested parties, NOT LATER THAN

23   THE RESPONSE DATE, which is March 17, 2020. You should also appear at the time of
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                                                                                Michael G. Malaier
                                                                        Chapter 13 Standing Trustee
                                                                             2122 Commerce Street
     NOTICE AND MOTION FOR DISMISSAL            -1                             Tacoma, WA 98402
                                                                                    (253) 572-6600
     hearing. If you fail to do so, the Court may enter an order granting the motion without any
 1
     hearing and without further notice.
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                                                 MOTION
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 5          COMES NOW, Michael G. Malaier, the Chapter 13 Trustee and alleges as follows:

 6   1. Debtors filed this case on August 3, 2016. The case was confirmed by order of the Court on
 7      October 29, 2016.
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     2. Pursuant to the confirmed plan, Debtors are required to make plan payments of $3,650.00
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        per month. Debtors are presently delinquent in plan payments in the amount of $20,655.03,
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        supported by the Declaration filed herewith.
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     3. Debtors have failed to provide the Trustee with a copy of their 2017 and 2018 tax returns.
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     4. Debtors have defaulted under the terms of the Plan as follows: § 1307(c)(1) unreasonable
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        delay by the debtor that is prejudicial to the creditors, § 1307(c)(6) failure to remit plan
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        payments.
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            WHEREFORE the Trustee prays that this case be dismissed and closed.
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18          DATED this 21st day of February, 2020 at Tacoma, Washington.

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                                                       Mathew S. LaCroix, WSBA# 41847 for
21
                                                       Michael G. Malaier, Chapter 13 Trustee
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                                                                                      Michael G. Malaier
                                                                              Chapter 13 Standing Trustee
                                                                                   2122 Commerce Street
     NOTICE AND MOTION FOR DISMISSAL              -2                                 Tacoma, WA 98402
                                                                                          (253) 572-6600
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                     IN THE UNITED STATES BANKRUPTCY COURT FOR THE
 8
                       WESTERN DISTRICT OF WASHINGTON AT TACOMA
 9

10     In re:                                      Case No.: 16-43264-MJH

11     TRUMAN WESLEY SANTIAGO JR                   PROPOSED
       and                                         ORDER DISMISSING CHAPTER 13 CASE
12     JAMIE LEE SANTIAGO,

13                                      Debtors.
14

15             THIS MATTER having come before the Court on the Trustee’s Motion to Dismiss, due

16   notice of hearing having been given to the Debtors and the attorney for the Debtors; the Debtors
17   having not otherwise responded or appeared, the Court having reviewed the motion and being
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     fully advised in the premises, IT IS HEREBY
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               ORDERED that any funds being held by the Trustee shall be applied to the filing fee,
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     with any remaining balance returned to the Debtors; it is further
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22             ORDERED that upon dismissal or conversion, any refund shall be payable to the Debtors

23   and may be forwarded to the Debtors though the attorney’s office per 11 U.S.C. 349(b)(3); it is
24   further
25
                                                                                   Michael G. Malaier
                                                                           Chapter 13 Standing Trustee
                                                                                2122 Commerce Street
     ORDER DISMISSING CASE                         -1                             Tacoma, WA 98402
                                                                                       (253) 572-6600
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             ORDERED that the above-captioned case be dismissed effective on the date of this Order
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     and the Trustee is directed to administratively close this case and issue Trustee’s Final Report to
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     creditors.
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                                              ///End of Order///
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 7   Presented by:
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     Mathew S. LaCroix, WSBA# 41847 for
10   Michael G. Malaier, Chapter 13 Trustee

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                                                                                     Michael G. Malaier
                                                                             Chapter 13 Standing Trustee
                                                                                  2122 Commerce Street
     ORDER DISMISSING CASE                        -2                                Tacoma, WA 98402
                                                                                         (253) 572-6600
